                                        1                                      Exhibit C
                                        2                             Lease Modification Agreements
                                        3                                      (attached)
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                                       11
Two North Central Avenue, Suite 2200




                                       12
   Phoenix, Arizona 85004-4406




                                       13
          Bryan Cave LLP


          (602) 364-7000




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                    IN WITNESS WHEREOF, this Amendment is executed by the parties to be effective as
            of the day and year first written above.


            LANDLORD:                                        TENANT:

            CSC TRUST                                        FRONTIER STAR, LLC



            By:                                              By:
            Charleen Case, Trustee of the CSC Trust, as      Name: P. Gregg Curry
            amended and/or restated                          Title: Trustee



                                                             SUCCEESSOR TENANT:

                                                             STARCORP CJ, LLC



                                                             By:

                                                             Name:

                                                             Title:




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                                                                                            7249 Bandera Rd.
                                                                                       Leon Valley, TX 78238

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